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                  United States Court of Appeals
                                   For the First Circuit
                                       _____________________
  No. 15-1570

                                          UNITED STATES,

                                               Appellee,

                                                   v.

                                            JOHN J. FALL,

                                         Defendant, Appellant.

                                         __________________

                                                 Before

                                    Thompson, Kayatta and Barron,
                                          Circuit Judges.
                                       __________________

                                             JUDGMENT

                                        Entered: April 26, 2017

           In this direct criminal appeal, which appellant John Fall has elected to pursue pro se, Fall
  challenges his prosecution and conviction for certain federal tax law crimes. After review of the
  district court record and the parties' briefs, we conclude that summary affirmance is appropriate
  and deny pending motions that have not been addressed in our prior orders. We briefly explain
  our decision.

           In large part, Fall raises meritless sovereign citizen arguments, which have "'no conceivable
  validity in American law.'" United States v. Banks, 828 F.3d 609, 615 n.1 (7th Cir. 2016) (citations
  omitted), cert. denied, 2017 WL 176675 (U.S. 2/21/17) (No. 16-7571). Furthermore, given his
  insistence on pursuing those arguments during pretrial proceedings and his refusal to obey court
  orders, the district court permissibly revoked Fall's pro se status and appointed counsel to represent
  him at trial. See Faretta v. California, 422 U.S. 806, 834 n.46 (1975) (acknowledging that "the
  trial judge may terminate self-representation by a defendant who deliberately engages in serious
  and obstructionist misconduct") (citing generally to Illinois v. Allen, 397 U.S. 337 (1970)). Nor
  did Fall have a Sixth Amendment right to the assistance of a non-attorney at trial, as he claims.
  See United States v. Gonzalez-Lopez, 548 U.S. 140, 144, 151-52 (2006) (the Sixth Amendment
  guarantees non-indigent defendants the right to representation by a qualified member of the bar);
  Luis v. United States, 136 S. Ct. 1083, 1089 (2016) (indigent defendants are entitled to adequate
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  representation by appointed counsel, but not to have the government pay for their "preferred
  representational choice") (citation omitted). In addition, the willfulness instruction the district
  court gave the jury complied with Supreme Court case law. See Cheek v. United States, 498 U.S.
  192, 201-04 (1991) (discussing applicable standards). And, finally, although Fall raises several
  ineffective assistance claims, we decline to consider them at this time. See United States v. Gall,
  829 F.3d 64, 71 (1st Cir. 2016) (noting this court's usual practice not to review ineffective
  assistance claims on direct appeal).

         Affirmed. See Loc. R. 27.0(c).

                                                       By the Court:

                                                       /s/ Margaret Carter, Clerk



  cc:
  John J. Fall
  Gregory Victor Davis
  Frank Phillip Cihlar
  Donald Campbell Lockhart
  John Noel Kane Jr.
  Mark Sterling Determan
